
644 S.E.2d 229 (2007)
Richard LUCAS, Employee
v.
LL BUILDING PRODUCTS, INC., Employee and Crawford &amp; Company, Servicing Agent.
No. 459P06.
Supreme Court of North Carolina.
March 8, 2007.
Trula R. Mitchell, Raleigh, for LL Building Products, et al.
Anthony M. Brannon, Raleigh, David A. Jones, for Lucas.

ORDER
Upon consideration of the petition filed on the 29th day of August 2006 by Defendants in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th day of March 2007."
Justice HUDSON recused.
